
673 S.E.2d 659 (2009)
STATE of North Carolina
v.
Marion BEASLEY, Jr.
No. 504A04-2.
Supreme Court of North Carolina.
February 5, 2009.
Nora Henry Hargrove, for Beasley.
Jill Cheek, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 5th day of August 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th day of February 2009."
